Supreme Court of Tennessee

Certificate of Good Standing

I, James M. Hivner, Clerk of the Supreme Court of the State of Tennessee,
do hereby certify that

Ivan A. Boatner

is a licensed and practicing attorney of the Courts of this State, having been
admitted to practice on October 27, 1992, and is presently in good standing. The
Supreme Court is the Court of last resort in Tennessee.

In testimony whereof, I have set my hand and affixed the seal of the Court on
this the 17th day of May, 2019.

James M. Hivner
Clerk of the Supreme Court of Tennessee

By: Vt | CL tus

Kitty Martin, D.C.

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